
In re Young, Earl Blake; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Pointe Coupee, 18th Judicial District Court Div. A, No. 67,612; to the Court of Appeal, First Circuit, No. 2011 KW 2311.
Denied. La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172. See also State v. Cotton, 09-2397 (La.10/15/10), 45 So.3d 1030; State v. Thomas, 08-2912, (La.10/16/09), 19 So.3d 466. Cf. La.C.Cr.P. art. 930.4(A).
